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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 0:11-cv-62311-WJZ

  JOSE ROQUE, individually,

                Plaintiff,
  v.

  LEADING EDGE RECOVERY
  SOLUTIONS, LLC, a foreign limited
  liability company,

              Defendant.
  _________________________________/

                             PLAINTIFF’S NOTICE OF SETTLEMENT

         Plaintiff hereby notifies this Court that a settlement has been reached between the parties,

  pending final execution of settlement documents and releases.



         Respectfully submitted: April 8, 2012



                                               /s/ Scott D. Owens
                                               SCOTT D. OWENS, ESQ.
                                               Florida Bar No.: 0597651
                                               Attorney for Plaintiff
                                               664 East Hallandale Beach Boulevard
                                               Hallandale, Florida 33309
                                               Phone 954-589-0588
                                               Fax 954-337-0666
                                               scott@scottdowens.com




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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 8 April 2012, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day via U.S. Mail and/or some other authorized manner as well as for those

  counsel or parties who are not authorized to receive electronically Notices of Electronic Filing.




                                                By: /s/ Scott D. Owens
                                                Scott D. Owens, Esq.




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